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             EXHIBIT A-2
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V I R G I N I A:

              IN THE CIRCUIT COURT OF THE CITY OF RICHMOND

                                CASE NO.: _______________


MARK RULO,
                                                            PLAINTIFF,

v.

STEPHEN BURNS, ADMINSTRATOR
OF THE ESTATE OF ORLANDO CRAIG, DECEASED
Serve:  Stephen Burns, Esq.
        Park Sensenig, LLC
        2310 West Main Street
        Richmond, Virginia 23220
        (PRIVATE SERVICE)


COLEMAN AMERICAN MOVING SERVICES, INC.,
Serve: Jon William Coon, Registered Agent
       15381 Farm Creek Drive
       Woodbridge, Virginia 22194
       (PRIVATE SERVICE)

and

COLEMAN WORLD GROUP, LLC
Serve: Clerk, State Corporation Commission
       1300 East Main Street
       Richmond, Virginia 23219
       (PRIVATE SERVICE)


                                                             DEFENDANTS.


                                      COMPLAINT

      Plaintiff Mark Rulo                           his Complaint against the Defendants



American Moving Services, Inc                                and Coleman World Group,
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LLC (“Coleman World Group”) states as follows:

                                              Parties

       1.       Stephen Burns qualified as the Administrator of the Estate of Orlando Craig,

deceased, in the City of Richmond Circuit Court, Virginia on February 1, 2022. (Certificate of

Qualification attached as Ex.1)

       2.       At all times relevant, Stephen Burns was a citizen of the Commonwealth of

Virginia.

       3.       At all times relevant, the Defendant Coleman American Moving owned, operated,

and managed a local and long-distance moving services company authorized to do business in

Virginia and with a principal office in Midland, Alabama.

       4.       At all times relevant, the Defendant Coleman World Group owned, operated, and

managed a local and long-distance moving services company authorized to do business in Coon

Rapids, Minnesota.

                        COUNT I - Negligence (Defendant Orlando Craig)

       5.       The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.

       6.       On or about July 10, 2020, at approximately 2:49 p.m., Plaintiff was operating a

Volvo tractor trailer in a northerly direction on Interstate 81 near mile marker 57.80 in Wythe

County, Virginia.

       7.       At that time and place, northbound Interstate 81 consisted of two lanes of travel.

       8.       At that time and place, the northbound and southbound lanes of Interstate 81 were

divided by a median.

       9.       At that time and place, Orlando Craig was operating an International tractor trailer



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in the southbound lanes of Interstate 81.

       10.     At that time and place, Orlando Craig owed various duties of ordinary care,

including but not limited to the duty to perform a proper pre-trip inspection, the duty to keep a

proper lookout, the duty to keep his vehicle under proper control, they duty to operate his vehicle

at a reasonable speed under the existing conditions, the duty to pay full time and attention while

driving, the duty to avoid engaging in non-driving activities while driving, the duty to stay awake

and attentive while driving, the duty to drive in his lane of travel, and the duty to not obstruct the

lanes of travel on Interstate 81, and the duty to abide by the basic rules of the road.

       11.     Despite having these and other duties, at that time and place, Orlando Craig caused

his tractor trailer to leave the southbound lanes of Interstate 81 and drove directly into the path of

Plaintiff’s oncoming vehicle.

       12.     At that time and place, having insufficient time or distance to avoid the collision,

Plaintiff’s vehicle crashed into the tractor trailer driven by Orlando Craig.

       13.     Defendant Orlando Craig was negligent in at least the following specific ways:

               a.      Failing to perform a proper pre-trip inspection;

               b.      Failing to keep a proper lookout;

               c.      Failing to keep his vehicle under proper control;

               d.      Failing to operate his vehicle at a reasonable speed under the existing

                       circumstances;

               e.      Failing to pay full time and attention while driving;

               f.      Failing to avoid engaging in non-driving activities while driving;

               g.      Failing to stay awake and/or attentive;

               h.      Failing to drive in his lane of travel;



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                i.      Failing to keep his vehicle from obstructing the lanes of travel;

                j.      Failing to abide by the basic rules of the road;

                k.      Failing to drive defensively;

                l.      Failing to adhere to safe driving principles expected of professional truck

       drivers with commercial driver’s licenses;

                m.      Failing to operate his commercial motor vehicle in accordance with

       generally accepted safety principles and practices of the trucking industry;

                n.      Otherwise failing to use that degree of care and caution that a reasonable

       and prudent person would have exercised under the same or similar circumstances.

       14.      The above-described collision was directly and proximately caused by carelessness,

recklessness and negligence in the operation of the tractor trailer by Orlando Craig.

       15.      As a direct and proximate result of the above-described collision, Plaintiff was

caused to suffer serious and permanent injuries; has suffered and will suffer in the future pain of

body and mind; has incurred and will incur in the future medical and related expenses; and has

suffered and will suffer in the future other damages.

                     COUNT II – Negligence Per Se (Defendant Orlando Craig)

       16.      The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.

       17.      Orlando Craig, at the time if the subject collision was subject to the laws of the

Commonwealth of Virginia governing the operation of a motor vehicle on Virginia’s public

roadways at the time of the subject collision.

       18.      At all relevant times, Virginia had in effect Virginia Code Section 46.2-802, which

provides that drivers must drive on the right side of the highway, unless it is impracticable to travel



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on such side of the highway and except when overtaking and passing another vehicle, subject to

the provisions of applicable to overtaking and passing.

       19.     At all relevant times, Virginia had in effect Virginia Code Section 46.2-804, which

requires drivers to operate their vehicles as nearly as practicable entirely within a single lane and

prohibits drivers from moving their vehicle from that lane until the driver has ascertained that such

movement can be made safely.

       20.     At all relevant times, Virginia had in effect Virginia Code Section 46.2-853, which

provides that drivers have a duty to keep their vehicle under proper control.

       21.     At all relevant times, Virginia had in effect Virginia Code Section 46.2-861, which

provides that drivers have a duty to operate their vehicle at a reasonable speed under the

circumstances and traffic conditions existing at the time.

       22.      At all relevant times, Plaintiff was a member of the class for whom Virginia Code

Sections 46.2-802, 46.2-804, 46.2- 853, and 46.2-861 were enacted.

       23.     At all relevant times, Plaintiff was a member of the class for whom Title 46.2 of

the Virginia Code was enacted.

       24.     At all relevant times, Defendant Orlando Craig was negligent per se in that he

violated Virginia Code Sections 46.2-802, 46.2-804, 46.2-853, and 46.2-861.

       25.     Orlando Craig was negligent per se in that he violated statutes as set forth above.

       26.     The above-described collision was directly and proximately caused by the

carelessness, recklessness, and negligence of Orlando Craig in the operation of his tractor trailer

as described herein.

       27.     As a direct and proximate result of above-described collision, Plaintiff was caused

to suffer serious and permanent injuries; has suffered and will suffer in the future pain of body and



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mind; has incurred and will incur in the future medical and related expenses; and has suffered and

will suffer in the future other damages.

               COUNT III – Vicarious Liability (Defendants Coleman American Moving)

         28.      The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.

         29.      At that time and place and at all times relevant hereto, Orlando Craig was an agent,

servant and/or employee of Defendant Coleman American Moving.

         30.      At that time and place and at all times relevant hereto, Orlando Craig was acting

within the course and scope of his agency and/or employment with Defendant Coleman American

Moving.

         31.      Under the principles of respondeat superior, actual agency, and/or apparent

agency, Defendants Coleman American Moving is vicariously liable for the negligence of Orlando

Craig.

         32.      The above-described collision was directly and proximately caused by carelessness,

recklessness and negligence in the operation of the tractor trailer by Orlando Craig and Defendant

Coleman American Moving.

         33.      As a direct and proximate result of the above-described collision, Plaintiff was

caused to suffer serious and permanent injuries; has suffered and will suffer in the future pain of

body and mind; has incurred and will incur in the future medical and related expenses; and has

suffered and will suffer in the future other damages.

                 COUNT IV – Vicarious Liability (Defendant Coleman World Group)

         34.      The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.



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         35.    At that time and place and at all times relevant hereto, Orlando Craig was an agent,

servant and/or employee of Defendant Coleman World Group.

         36.    At that time and place and at all times relevant hereto, Orlando Craig was acting

within the course and scope of his agency and/or employment with Defendant Coleman World

Group.

         37.    Under the principles of respondeat superior, actual agency, and/or apparent

agency, Defendant Coleman World Group is vicariously liable for the negligence of Orlando

Craig.

         38.    The above-described collision was directly and proximately caused by carelessness,

recklessness and negligence in the operation of the tractor trailer by Orlando Craig and Defendant

Coleman World Group.

         39.    As a direct and proximate result of the above-described collision, Plaintiff was

caused to suffer serious and permanent injuries; has suffered and will suffer in the future pain of

body and mind; has incurred and will incur in the future medical and related expenses; and has

suffered and will suffer in the future other damages.

                             COUNT V - Independent Negligence of
                                Coleman American Moving

         40.    The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.

         41.    Defendant Coleman American Moving is an interstate motor carrier existing under

the laws of the state of Alabama.

         42.    Defendant Coleman American Moving is registered with the United States

Department of Transportation under U.S. D.O.T. Number 148986.

         43.    Defendants Coleman World Group is registered with the United States Department

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of Transportation under U.S. D.O.T. Number 2279544.

      44.         Defendant Coleman American Moving was independently negligent in at least the

following ways:

            a) Negligently hiring or contracting with Orlando Craig to drive the International

                  tractor trailer involved in the collision described herein;

            b) Negligently retaining Orlando Craig as a commercial driver;

            c) Negligently failing to properly train Orlando Craig as a commercial driver;

            d) Negligently entrusting Orlando Craig to drive a commercial motor vehicle

            professionally;

            e) Failing to properly qualify Orlando Craig as a commercial driver;

            f) Failing to properly inspect and maintain the commercial motor vehicle at issue in

            this case;

            g) Negligently failing to have and/or implement policies, procedures, and training

            concerning federal regulations governing safe commercial vehicle operations for its

            agents and/or employees who drive in the course and scope of their employment and/or

            agency;

            h) Otherwise violating state laws and federal regulations governing trucking

            companies;

            i) Otherwise failing to act as a reasonably prudent company under the circumstances;

            and

            j) Otherwise negligently hiring, retaining, qualifying, and training, Orlando Craig and

            in negligently entrusting him to operate a commercial motor vehicle on the public

            highways.



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         45.      Defendant Coleman American Moving had a duty to promulgate and enforce rules

and regulations to ensure its drivers and vehicles were reasonably safe, and negligently failed to

do so.

         46.      Defendant Coleman American Moving had a duty to train its drivers to ensure its

drivers and vehicles were reasonably safe, and negligently failed to do so.

         47.      Defendant Coleman American Moving’s negligence is a direct and proximate cause

of the collision that resulted in severe and permanent injuries to Plaintiff.

         48.      As a direct and proximate result of Defendant Coleman American Moving’s

negligent conduct, Plaintiff was caused to suffer serious and permanent injuries; has suffered and

will suffer in the future pain of body and mind; has incurred and will incur in the future medical

and related expenses; and has suffered and will suffer in the future other damages.

                                COUNT V - Independent Negligence of
                                     Coleman World Group

         49.       The allegations set forth above are hereby incorporated by reference as if set forth

fully herein.

         50.      Defendant Coleman World Group is an interstate motor carrier existing under the

laws of the state of Alabama.

         51.      Defendant Coleman World Group is registered with the United States Department

of Transportation under U.S. D.O.T. Number 2279544.

         52.      Defendant Coleman World Group was independently negligent in at least the

following ways:

               a) Negligently hiring or contracting with Orlando Craig to drive the International

                  tractor trailer involved in the collision described herein;

               b) Negligently retaining Orlando Craig as a commercial driver;

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             c) Negligently failing to properly train Orlando Craig as a commercial driver;

             d) Negligently entrusting Orlando Craig to drive a commercial motor vehicle

             professionally;

             e) Failing to properly qualify Orlando Craig as a commercial driver;

             f) Failing to properly inspect and maintain the commercial motor vehicle at issue in

             this case;

             g) Negligently failing to have and/or implement policies, procedures, and training

             concerning federal regulations governing safe commercial vehicle operations for its

             agents and/or employees who drive in the course and scope of their employment and/or

             agency;

             h) Otherwise violating state laws and federal regulations governing trucking

             companies;

             i) Otherwise failing to act as a reasonably prudent company under the circumstances;

             and

             j) Otherwise negligently hiring, retaining, qualifying, and training, Orlando Craig and

             in negligently entrusting him to operate a commercial motor vehicle on the public

             highways.

       53.         Defendant Coleman World Group had a duty to promulgate and enforce rules and

regulations to ensure its drivers and vehicles were reasonably safe, and negligently failed to do so.

       54.         Defendant Coleman World Group had a duty to train its drivers to ensure its drivers

and vehicles were reasonably safe, and negligently failed to do so.

       55.         Defendant Coleman World Group’s negligence is a direct and proximate cause of

the collision that resulted in severe and permanent injuries to Plaintiff.



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       56.     As a direct and proximate result of Defendant Coleman World Group’s negligent

conduct, Plaintiff was caused to suffer serious and permanent injuries; has suffered and will suffer

in the future pain of body and mind; has incurred and will incur in the future medical and related

expenses; and has suffered and will suffer in the future other damages.

                                  Prayer for Relief on all Counts

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, in

the sum of FIFTY MILLION DOLLARS ($50,000,000.00), plus pre-judgment and post-judgment

interest and costs, and for all other damages permitted by law.

       Trial by jury is demanded.




                                                     MARK RULO


By:


____________________________

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Jason Konvicka, Esq. (VSB No. 37418)
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Counsel for Plaintiff




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CERTIFICATE/LETTER OF QUALIFICATION -
FOR PROSECUTION OR DEFENSE OF CIVIL ACTION
COMMONWEALTH OF VIRGINIA
VA. CODE §§ 64.2-454


City of Richmond Circuit Court


     I, the duly qualified clerk/deputy clerk of this Court, CERTIFY that on      FEBRUARY 1, 2022
                                                                                   DATE



                                          STEPHEN BURNS
                               NAME(S)OF PERSON(S)QUALIFYING


duly qualified in this Court, under the provisions of Virginia Code § 64.2-454, as administrator of the
estate of



ORLANDO LAMONT CRAIG, deceased, solely for the purpose of prosecution or defense of a civil

action for personal injury and/or death by wrongful act.


The powers of the fiduciary(ies) named above continue in full force and effect.


SlfOOO.OO bond has been posted.


Given under my hand and the seal of this Court on


FEBRUARY 1, 2022
            DATE
                                                      Edward F. Jewett, Clerk


                                                 by                                       , Deputy Clerk




FORM CC-1627 MASTER 07/15


                                                                           EXHIBIT A
